

People v Skeete (2022 NY Slip Op 00380)





People v Skeete


2022 NY Slip Op 00380


Decided on January 25, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 25, 2022

Before: Gische, J.P., Webber, Mendez, Rodriguez, Pitt, JJ. 


Ind. No. 2206/16 Appeal No. 15128 Case No. 2018-4609 

[*1]The People of the State of New York, Respondent,
vQuinn Skeete, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Allison N. Kahl of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Diana Wang of counsel), for respondent.



Judgment, Supreme Court, New York County (Ellen N. Biben, J.), rendered March 14, 2018, convicting defendant, upon his plea of guilty, of attempted murder in the second degree (two counts), and sentencing him to concurrent terms of 11 years, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the surcharge and fees imposed at sentencing, and otherwise affirmed.
Although the record does not establish that defendant made a valid waiver of his right to appeal, we perceive no basis for reducing the sentence. However, based on the People's consent as a matter of prosecutorial discretion, and pursuant to our own interest of justice powers, we direct that the surcharge and fees imposed on defendant at sentencing be waived (see People v Chirinos, 190 AD3d 434 [1st Dept 2021]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 25, 2022








